

People v Miranda (2022 NY Slip Op 03057)





People v Miranda


2022 NY Slip Op 03057


Decided on May 05, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 05, 2022

Before: Gische, J.P., Kern, Oing, González, Scarpulla, JJ. 


Ind No. 720/10 Appeal No. 15878 Case No. 2020-02435 

[*1]The People of the State of New York, Respondent,
vJose Miranda, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Elizabeth G. Caldwell of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Elizabeth T. Schmidt of counsel), for respondent.



Order, Supreme Court, New York County (Gregory Carro, J.), entered on or about May 29, 2020, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court properly exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). The mitigating factors cited by defendant, such as his educational and vocational achievements while incarcerated, were adequately taken into account by the risk assessment instrument or were
outweighed by the seriousness of defendant's crime, which was committed over several years against a young child (see e.g. People v Palmer, 166 AD3d 536, 537 [1st Dept 2018], lv denied 32 NY3d 919 [2019]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 5, 2022








